                       UNITED STATES DISTRICT COURT
                          DISTRICT OF CONNECTICUT
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MARIA MARRERO, ADMINISTRATRIX             :   CIVIL ACTION NO.
FOR THE ESTATE OF ERNESTO MORALES, :          3:14-cv-00831-WWE
            Plaintiff                     :
      vs.                                 :
CITY OF HARTFORD, ET AL                   :
            Defendants                    :
_________________________________________ :   JULY 31, 2019

                               STIPULATION OF DISMISSAL

       The Plaintiff, Maria Marrero, Administratrix of the Estate of Ernesto Morales, and

Defendants, City of Hartford, Chief James Rovella, William Cote, Kenneth Medina, Kenneth

Labbe, and Robert Iovanna hereby stipulate under Federal Rule of Civil Procedure 41(a)(1)(ii)

that this action be dismissed with prejudice as to all claims against all named Defendants. Each

party shall be responsible for their own costs and fees.

THE PLAINTIFF:                                        THE DEFENDANTS:
MARIA MARRERO, ADMINISTRATRIX                         CITY OF HARTFORD and CHIEF JAMES
                                                      ROVELLA
BY:/s/ Matthew D. Paradisi                            BY:/s/Nathalie Feola-Guerrieri
Matthew D. Paradisi                                   Nathalie Feola-Guerrieri
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THE DEFENDANTS:
WILLIAM COTE, KENNETH MEDINA,
KENNETH LABBE, and ROBERT IOVANNA
BY /s/ William J. Melley____
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                                        CERTIFICATION


       This is to hereby certify that on July 31, 2019, a copy of the foregoing was filed

electronically and served by mail on anyone unable to accept electronic filing. Notice of this

filing will be sent by email to all parties by operation of the Court’s electronic filing system or by

mail to anyone unable to accept electronic filing as indicated on the Notice of Electronic Filing.

Parties may access this filing through the Court’s CM/ECF System.




                                               /s/ Nathalie Feola-Guerrieri
                                               Nathalie Feola-Guerrieri




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